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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                GALVESTON DIVISION

MICKEY ANDREWS,                               §
                                              §
        Plaintiff,                            §       CIVIL ACTION NO. 3:22-cv-46
                                              §
v.                                            §
                                              §
OWEN MCINTYRE, CITY OF                        §       JURY TRIAL DEMANDED
LEAGUE CITY, TEXAS and                        §
GALVESTON COUNTY, TEXAS.                      §
                                              §
        Defendants.                           §

                           PLAINTIFF’S ORIGINAL COMPLAINT

TO THE HONORABLE JUDGE OF SAID COURT:

        COMES NOW, Plaintiff, Mickey Andrews (hereinafter “Plaintiff” or “Andrews”)

complaining of Defendants Owen McIntyre (“McIntyre”), City of League City, Texas (“the

City” or “Defendant City”) and Galveston County, Texas (“the County” or “Defendant County”)

and for cause would show the Court as follows:

                                I.      NATURE OF THE ACTION

     1. This is an action brought by the Plaintiff against the Defendants pursuant to 42 U.S.C. §

        1983 for violations of Plaintiff’s civil rights and privileges guaranteed to him by the

        United States Constitution and under the common law of the State of Texas.

     2. Plaintiff brings this action against Owen McIntyre, an officer with the League City Police

        Department (“LCPD”) and the City of League City for falsely arresting Plaintiff,

        subjecting him to continued detention and arrest without probable cause, and then

        maliciously prosecuting Plaintiff by the Galveston County District Attorney’s Office.

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                                        II.     PARTIES

  3. Plaintiff, Mickey Andrews, is an adult individual and resident of Galveston County,

     Texas.

  4. Defendant, Owen McIntyre, was at all times relevant to this Complaint a police officer

     with the League City Police Department (“LCPD”) and employed by the City of League

     City, Texas. McIntyre was, at all times relevant, acting under color of law, to wit, under

     color of the statutes, ordinances, regulations, policies, customs and usages of the State of

     Texas and/or the City of League City, Texas. McIntyre is sued in his individual capacity

     and may be served at his place of business at 555 W. Walker, League City, TX 77573.

  5. Defendant, City of League City, Texas, is a municipality duly organized and existing

     under the laws of the State of Texas. Defendant City is responsible for the funding,

     budget, policies, operation, and oversight of the League City Police Department. The City

     may be served by and through the League City Secretary Diana Stapp at 300 W. Walker,

     League City, TX 77573.

  6. Defendant, Galveston County, Texas is a governmental entity duly organized and

     existing under the laws of the State of Texas. Defendant County is responsible for

     oversight of the Galveston County District Attorney’s Office (“Galveston County DA”).

     The County may be served by and through the Galveston County Judge Mark Henry at

     722 Moody, Galveston, TX 77550.

                            III.    JURISDICTION AND VENUE

  7. Jurisdiction exists in this Honorable Court pursuant to 28 U.S.C. §§ 1331 and 1343 as

     this action is brought pursuant to 42 U.S.C. § 1983 to redress a deprivation of the

     constitutional rights of Plaintiff Mickey Andrews. Plaintiff further invokes the

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     supplemental jurisdiction of this Court pursuant to 28 U.S.C. § 1367 to adjudicate

     pendent state law claims.

  8. Venue is proper in this Court as Defendants’ constitutional violations and intentional torts

     and otherwise violative conduct occurred within the Southern District of Texas.

                                          IV.     FACTS

  9. On June 3, 2020, Plaintiff was involved in a serious motor vehicle accident when his

     vehicle collided with an individual driving a motorcycle in League City, Texas.

  10. The collision between Plaintiff’s Ford Mustang and the individual’s Yamaha motorcycle

     caused the individual to be ejected from the motorcycle.

  11. After the collision occurred, Plaintiff stepped out of his vehicle to attempt to render aid to

     the individual driving the motorcycle and instructed nearby bystanders to call 911 for

     emergency assistance.

  12. Plaintiff stood near the injured individual while waiting for an ambulance to arrive on

     scene and render any necessary medical care.

  13. Once LCPD Officers Owen McIntyre and Upp arrived on scene, they immediately

     ordered Plaintiff to stand by his car. Defendant McIntyre and Upp then accused Plaintiff

     of being under the influence of alcohol or narcotics.

  14. Defendant McIntyre was informed by Plaintiff that he had not been drinking or

     consuming any drugs prior to operating his motor vehicle. After vehemently denying

     these accusations, Plaintiff was instructed to take a sobriety test, which he eagerly

     performed.

  15. After Plaintiff conducted the sobriety test, Defendant McIntyre and Upp directed Plaintiff

     to put his hands behind his back. Plaintiff replied stating that he was not intoxicated and

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     requested to take a blood test to prove he was telling the truth. Defendants replied stating

     that there were not any other tests available and that he was still being arrested.

  16. Defendant McIntyre and Upp, without any cause, were determined to charge Plaintiff

     with a crime despite the lack of evidence pointing to intoxication.

  17. While in the police car, Plaintiff requested other tests to further demonstrate that he was

     not intoxicated.

  18. Plaintiff was taken to jail and was forced to conduct multiple sobriety tests and was given

     two breathalyzer tests with the results showing that Plaintiff was not under any influence

     of alcohol.

  19. When Defendant McIntyre could not charge Plaintiff with an alcohol-related offense, he

     then became determined to charge Plaintiff with anything else.

  20. Defendant McIntyre then accused Plaintiff of being under the influence of narcotics,

     which Plaintiff again vehemently denied.

  21. Plaintiff willingly took all urine tests, blood draws, and sobriety tests and even

     encouraged officers to provide him with these tests to show he was not under the

     influence of any alcohol or drugs.

  22. Defendants continued to direct Plaintiff to take part in sobriety tests and Plaintiff

     continued to show no signs of intoxication. After Plaintiff successfully performed all

     sobriety testing, Defendant McIntyre told Plaintiff “You may or not be drunk but I will

     get you on something.”

  23. Plaintiff was subsequently prosecuted by the Galveston County District Attorney’s Office

     for the felony offense of Intoxication Assault with a Vehicle Serious Bodily Injury (also

     known as DWI with Serious Bodily Injury).

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  24. While Plaintiff remained incarcerated and unable to make bond, he continued to demand

     his lab results concerning urine and blood draws that he performed at the time of his

     arrest.

  25. Plaintiff’s criminal defense counsel made repeated requests for these results to the

     assistant district attorney assigned to Plaintiff’s case, but never received the results while

     the case was pending for over one year.

  26. Plaintiff’s criminal defense counsel made repeated attempts to set this case for trial, but

     the County asked for a trial continuance at each setting.

  27. Plaintiff’s criminal defense counsel informed the assistant district attorney and the judge

     that the prosecution should be dropped because the County had repeatedly failed to turn

     over Plaintiff’s laboratory results and sought to continue Plaintiff’s detainment in jail by

     asking for multiple trial continuances.

  28. Plaintiff spent nearly three months in jail awaiting trial to prove his innocence.

  29. The laboratory results were never provided to Plaintiff or Plaintiff’s criminal defense

     counsel while the prosecution was pending.

  30. Despite the County being in possession of Plaintiff’s laboratory results that would have

     shown his innocence, the County withheld such evidence from Plaintiff’s counsel.

  31. The County finally filed a Motion to Dismiss Plaintiff’s prosecution on August 19, 2021

     for “insufficient evidence.” The Order for dismissal was also signed on August 19, 2021.

  32. While relieved that the case was finally dismissed, Plaintiff still never received his

     laboratory results that would have shown he had no alcohol or drugs in his system at the

     time of arrest.




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  33. Plaintiff’s criminal defense counsel followed up with the assistant district attorney

     regarding obtaining the laboratory results, but the County ignored counsel’s request.

  34. Eventually, the County informed Plaintiff’s criminal defense counsel that they had no

     obligation or duty to disclose the discovery, despite the fact that Plaintiff’s criminal

     defense attorney had made multiple requests for the results over the course of the

     prosecution and even after.

  35. Only after Plaintiff’s criminal defense attorney contacted the County’s administration to

     report this breach of duty did the County comply with their discovery obligation and

     finally disclose Plaintiff’s laboratory results from the date of his arrest.

  36. The laboratory results showed that Plaintiff had consumed no alcohol and no drugs.

                   V.      CAUSES OF ACTION UNDER 42 U.S.C. § 1983

                                       Count I – False Arrest

  37. Plaintiff incorporates by reference all previous paragraphs as if fully set forth herein.

  38. Despite the total lack of probable cause to establish the existence of any crime,

     Defendants falsely arrested Plaintiff on charges of Intoxicated Assault with a

     Vehicle/DWI Causing Serious Bodily Injury.

  39. The arrest of Plaintiff was intentional and the result of insensible testing in regard to the

     alleged intoxication of Plaintiff. The false arrest of Plaintiff was an unreasonable seizure

     of Plaintiff, and violated his rights, as guaranteed by the Fourth Amendment of the

     United States Constitution and 42 U.S.C. § 1983. The arrest was in the absence of

     probable cause.

  40. At all times relevant to this Complaint, Defendant McIntyre was a police officer for the

     LCPD and was acting under the direction and control of the City of League City.

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  41. As a direct result of the illegal conduct of Defendant McIntyre, the City, and the County,

     Plaintiff has suffered injury and damage as further described in this Complaint.

                       Count II – Continuing Incarceration and Detention

  42. Plaintiff incorporates by reference all previous paragraphs as if fully set forth herein.

  43. In addition to falsely arresting Plaintiff, Defendants caused the incarceration of Plaintiff

     who was proclaimed to be innocent after serving his time. Plaintiff was incarcerated for

     approximately three (3) months as a direct result of these false charges.

  44. The conduct of the Defendants and the continued incarceration of the Plaintiff deprived

     the Plaintiff of his rights and privileges under the Fourth Amendment of the United States

     Constitution and 42 U.S.C. § 1983. As a direct result of these Fourth Amendment

     violations, Plaintiff has suffered injury and damages.

  45. If there is to be evidence provided that Plaintiff’s suffering did not constitute a Fourth

     Amendment violation, the continued incarceration and detention of Plaintiff with lack of

     probable cause was a violation of his due process rights guaranteed under the Fourteenth

     Amendment of the United States Constitution.

              Count III – Conspiracy to Deprive Plaintiff of His Constitutional Rights

  46. Plaintiff incorporates by reference all previous paragraphs as if fully set forth herein.

  47. Defendants McIntyre, the City, and the County entered into a conspiracy to deprive

     Plaintiff of his right to be free from illegal seizure and detention by acting in concert to

     carry out the illegal seizure and illegal detention described in this Complaint when there

     was a lack of probable cause to charge Plaintiff with Intoxication Assault with a Vehicle.




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   48. Defendants were involved in the conspiracy to deprive Plaintiff of his constitutional

      rights when they arrested Plaintiff without probable cause and continued his detention

      and prosecution without evidence of intoxication.

   49. In fact, evidence demonstrating no intoxication at all was in the hands of the City and

      County, yet the illegal detention of Plaintiff persisted.

   50. The conspiracy involved state action, since Defendant McIntyre and the various officers

      and officials within the City and County acted under color of the statutes, customs,

      ordinances, and usage of the State of Texas, the City, and the County.

   51. Plaintiff had his constitutional rights violated and suffered mental/emotional damages as

      a result of these civil rights violations.

                                      Count IV – Municipal Liability

League City, Texas

   52. Plaintiff incorporates by reference all previous paragraphs as if fully set forth herein.

   53. Plaintiff had a constitutional right to be free from unlawful arrest. The individual

      Defendants were acting under color of the laws and regulations of the State of Texas and

      the League Police Department in the scope of their employment for the City. As a direct

      result of Defendants’ conduct, Plaintiff was falsely arrested despite the absence of

      probable cause to establish that he had committed a crime.

   54. The conduct set forth supra evinces a custom of using improper and coercive

      investigative techniques and a lack of policies and training instructing officers on the

      appropriate manner in which to handle criminal investigations, potential witnesses

      and testing for intoxication.

   55. Defendant City had actual knowledge of the need for policies and training related


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     to proper investigative techniques with officers, suspects and witnesses, yet the

     City refused to implement any formal policies or training on these issues.

  56. Despite this knowledge, the City did not train Defendant McIntyre or Officer

     Upp Jones on techniques to conduct proper, thorough and non-coercive

     investigations.

  57. This failure to train was in contravention of state law.

  58. As a result, Defendant McIntyre and Officer Upp were woefully ill-equipped to

     address the need for a proper, thorough and non-coercive investigation involving

     Plaintiff.

  59. This lack of training was a moving force behind the deprivation of Plaintiff’s

     constitutional rights.

  60. The City, with encouragement from the County, has created and tolerated an

     atmosphere of lawlessness and has developed and maintained long- standing,

     department-wide customs, law enforcement related policies, procedures, customs,

     practices, and/or failed to properly train and/or supervise its officers in a manner

     amounting to deliberate indifference to the constitutional rights of Plaintiff and of the

     public.

  61. At all times relevant herein, Gary Ratliff served as Chief of Police of the LCPD. Chief

     Ratliff had final policymaking authority over the hiring and training of many of the

     officers involved Plaintiff’s wrongful arrest and prosecution. Specifically, Chief Ratliff

     allowed or encouraged his officers to use improper or coercive investigative techniques,

     fail to keep or maintain adequate records, and fail to disclose material exculpatory and

     impeachment evidence to prosecutors and defense counsel.


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  62. The City maintained deficient and/or improper policies, customs, and practices regarding

      the hiring of its officers, the training and supervision of its officers, the handling and

      testing of evidence, its investigative techniques, its record keeping and documentation of

      evidence, and other aspects of its investigations and prosecutions during the time in

      which Plaintiff was charged, jailed and prosecuted and all contributed to this injustice.

      The City was either actually aware of or deliberately indifferent to the known or obvious

      consequences of its policies, customs, and practices.

  63. In light of the duties and responsibilities of those police officers that participate in arrests,

      preparation of police reports, and subsequent investigations of alleged crimes, the need

      for additional training and supervision is so obvious, and the inadequacy of training

      and/or supervision is so likely to result in the violation of constitutional and federal rights

      such as those described herein, that the failure to provide such specialized training and

      supervision is deliberately indifferent to those rights.

  64. The deliberately indifferent and/or non-existent training and supervision provided by the

      LCPD resulted from a conscious or deliberate choice to follow a course of action from

      among various alternatives available to the LCPD and were moving forces in the

      constitutional and federal violation injuries suffered by Plaintiff.

  65. The City also failed to train its employees regarding Brady evidence and the obligations

      that come with being in possession of exculpatory evidence.

  66. Plaintiff has been damaged as a proximate result of the City’s policies and customs to

      employ police officers who were inadequately trained and supervised with respect to

      fundamental investigative techniques and their duty to disclose all material exculpatory

      and impeachment evidence.

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Galveston County, Texas

   67. The violations of Plaintiff’s civil and constitutional rights, as set forth herein, were the

      direct and proximate results of Defendant Galveston County’s then-existing customs,

      policies and practices. Defendant County expressly or tacitly encouraged, ratified, and/or

      approved of the acts and/or omissions alleged herein and knew or should have known that

      such conduct was unjustified and would result in violations criminal defendants’

      constitutional rights, including those of the Plaintiff.

   68. Defendant County’s official and unofficial policies and customs were to employ

      Assistant District Attorneys who were inadequately trained and supervised with respect

      to their duty to disclose to defense counsel all material exculpatory and impeachment

      evidence and/or to verify the veracity of the evidence its attorneys presented in a

      prosecution in violation of Plaintiff’s rights pursuant to 42 U.S.C. §1983.

   69. Defendant County also had an official or unofficial policy, custom, and practice of

      encouraging Assistant District Attorneys to aggressively pursue convictions regardless of

      the weight of the evidence against a particular defendant, including unlawful means of

      pressure and intimidation to coerce a plea deal.

   70. Defendant Galveston County’s official and unofficial policies, customs, and practices

      were tantamount to knowingly, willfully, and intentionally disregard the constitutional

      rights of the defendants it sought to convict.

   71. Jack Roady was the District Attorney of Galveston County, Texas at the time of

      Plaintiff’s prosecution. Mr. Roady served as the District Attorney during the arrest,

      prosecution, and eventual dismissal of Plaintiff’s criminal charges. Roady was a key




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     policymaker who allowed or encouraged and/or allowed his prosecutors to withhold

     material exculpatory and impeachment evidence to defense counsel.

  72. Defendant County performed acts pursuant to municipal policies, practices, customs, and

     usages, which ratified, tolerated, acquiesced in, maintained, authorized, and permitted the

     following unconstitutional conduct:

         a. The knowing deliberate and intentional wholesale suppression of exculpatory

             evidence or information of favorable value from Plaintiff and his counsel to use in

             his defense of the criminal charges brought against him.

         b. Enabling Assistant District Attorneys to engage in unconstitutional conduct of

             malicious prosecution of Plaintiff, deliberately undermining Plaintiff’s right to a

             fair trial, right to due process of law, and the right to equal protection of the law.

         c. Tolerating misconduct on behalf of the Galveston County District Attorney’s

             Office and its employees, including the concealment of exculpatory evidence and

             the continued malicious prosecution of Plaintiff.

         d. Failing to adequately train, supervise, monitor, control, and discipline its Assistant

             District Attorneys and other employees for engaging in a continuous pattern of

             misconduct which has led to the false imprisonment and prosecution of innocent

             people, including Plaintiff.

         e. Condoning and emboldening Assistant District Attorneys to engage in

             misconduct, in the belief that they could violate Plaintiff’s rights with the

             knowledge that such flagrant conduct would not adversely affect opportunities for

             job promotion and benefits.

         f. Ratifying actions of its Assistant District Attorneys who withhold exculpatory

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               evidence and use trial continuances as a strategy to coerce plea deals.

  73. Plaintiff has been damaged as a proximate result of Defendant Galveston County’s

     unconstitutional policies, customs, and practices, as described herein. The County acted

     maliciously, willfully, wantonly, and/or with reckless disregard for his constitutional

     rights.

                                   Count V – Malicious Prosecution

  74. Plaintiff incorporates by reference all previous paragraphs as if fully set forth herein.

  75. As stated above, a criminal prosecution against Plaintiff was terminated in Plaintiff’s

     favor when the charges were dropped after being incarcerated for approximately four

     months.

  76. Defendants did not have probable cause to commence a criminal prosecution against

     Plaintiff.

  77. Defendant City and the County withheld exculpatory evidence from Plaintiff and

     Plaintiff’s criminal defense counsel that would have immediately ended the prosecution

     of Plaintiff for a criminal charge which had no basis in fact.

  78. The Defendants suppressed, withheld, and prevented the flow of exculpatory evidence

     and information gathering during the course of the investigation of the matter. Such

     evidence that was readily available to Defendants was withheld from Plaintiff and

     contributed to his prolonged imprisonment and prosecution that was ultimately

     dismissed.

  79. As a result of Defendants’ conduct, Plaintiff has suffered from emotional distress, mental

     anguish, and the cost of his criminal defense. Furthermore, Plaintiff had his constitutional

     rights violated.

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                                         VI.     DAMAGES

  80. As a direct and proximate result of the acts outlined above, Plaintiff has been damaged.

      Defendants’ conduct has caused severe injury to the Plaintiff. Furthermore, he has

      suffered economic loss, emotional and mental anguish, and pain and suffering as a direct

      result of the violations of his constitutional rights.

  81. Plaintiff seeks compensatory damages to compensate him for his damages, which include

      injuries, mental anguish, pain and suffering, both past and future, and loss of income.

  82. Plaintiff also seeks damages for the costs he incurred in having to defend against the false

      criminal charges filed against him.

  83. Plaintiff also seeks exemplary damages against Defendants McIntyre and Upp.

  84. Plaintiff has retained the services of the undersigned attorney and claims entitlement to

      an award of reasonable and necessary attorney’s fees under 42 U.S.C. §§ 1983 and 1988.

  85. Punitive/Exemplary Damages against all Defendants. Punitive/exemplary damages are

      recoverable under section 1983 when the conduct is shown to be motivated by evil

      motive or intent, or when it involves reckless or callous indifference to the federally

      protected rights of others. Here, the conduct of the Defendants were done with evil

      motive or intent, or at the very least, was reckless or callously indifferent to the

      federally protected rights of the Plaintiff. As such, Plaintiff requests punitive and

      exemplary damages to deter this type of conduct in the future.

                                      VII.     TRIAL BY JURY

  86. Plaintiff respectfully requests trial by jury.




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                                            VIII. PRAYER

        WHEREFORE, PREMISES CONSIDERED, Plaintiff prays that Defendants be cited to

appear and answer herein; that upon final trial hereof Plaintiff recovers judgment from

Defendants; actual damages, compensatory damages, attorney’s fees, exemplary damages, pre-

judgment interest at the legal rate; interest on said judgment at the legal rate; costs of court; and

such other and further relief, both general and special, at law and in equity, to which Plaintiff is

justly entitled.




                                               Respectfully Submitted,



                                               /s/ Blerim Elmazi
                                               BLERIM ELMAZI, ESQ.
                                               State Bar No. 24118375
                                               THE LAW OFFICES OF BLERIM ELMAZI
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                                               ATTORNEY FOR PLAINTIFF




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JS 44 (Rev. 04/21)                           CIVIL COVER
                         Case 3:22-cv-00046 Document          SHEET
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The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
I. (a) PLAINTIFFS                                                                                        DEFENDANTS


   (b)   County of Residence of First Listed Plaintiff                                                   County of Residence of First Listed Defendant
                                (EXCEPT IN U.S. PLAINTIFF CASES)                                                                (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                         NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                    THE TRACT OF LAND INVOLVED.

   (c)   Attorneys (Firm Name, Address, and Telephone Number)                                             Attorneys (If Known)




II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                     III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                      (For Diversity Cases Only)                                    and One Box for Defendant)
  1    U.S. Government                 3   Federal Question                                                                    PTF        DEF                                         PTF      DEF
         Plaintiff                           (U.S. Government Not a Party)                      Citizen of This State            1          1      Incorporated or Principal Place         4     4
                                                                                                                                                     of Business In This State

  2    U.S. Government                 4   Diversity                                            Citizen of Another State            2          2   Incorporated and Principal Place           5         5
         Defendant                           (Indicate Citizenship of Parties in Item III)                                                           of Business In Another State

                                                                                                Citizen or Subject of a             3          3   Foreign Nation                             6         6
                                                                                                  Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                   Click here for: Nature of Suit Code Descriptions.
          CONTRACT                                               TORTS                            FORFEITURE/PENALTY                       BANKRUPTCY                       OTHER STATUTES
  110 Insurance                       PERSONAL INJURY                  PERSONAL INJURY             625 Drug Related Seizure             422 Appeal 28 USC 158             375 False Claims Act
  120 Marine                          310 Airplane                    365 Personal Injury -            of Property 21 USC 881           423 Withdrawal                    376 Qui Tam (31 USC
  130 Miller Act                      315 Airplane Product                Product Liability        690 Other                                28 USC 157                        3729(a))
  140 Negotiable Instrument                Liability                  367 Health Care/                                                    INTELLECTUAL                    400 State Reapportionment
  150 Recovery of Overpayment         320 Assault, Libel &                Pharmaceutical                                                PROPERTY RIGHTS                   410 Antitrust
      & Enforcement of Judgment            Slander                        Personal Injury                                               820 Copyrights                    430 Banks and Banking
  151 Medicare Act                    330 Federal Employers’              Product Liability                                             830 Patent                        450 Commerce
  152 Recovery of Defaulted                Liability                  368 Asbestos Personal                                             835 Patent - Abbreviated          460 Deportation
       Student Loans                  340 Marine                          Injury Product                                                    New Drug Application          470 Racketeer Influenced and
       (Excludes Veterans)            345 Marine Product                  Liability                                                     840 Trademark                         Corrupt Organizations
  153 Recovery of Overpayment              Liability                 PERSONAL PROPERTY                      LABOR                       880 Defend Trade Secrets          480 Consumer Credit
      of Veteran’s Benefits           350 Motor Vehicle               370 Other Fraud              710 Fair Labor Standards                 Act of 2016                       (15 USC 1681 or 1692)
  160 Stockholders’ Suits             355 Motor Vehicle               371 Truth in Lending             Act                                                                485 Telephone Consumer
  190 Other Contract                      Product Liability           380 Other Personal           720 Labor/Management                 SOCIAL SECURITY                       Protection Act
  195 Contract Product Liability      360 Other Personal                  Property Damage              Relations                        861 HIA (1395ff)                  490 Cable/Sat TV
  196 Franchise                           Injury                      385 Property Damage          740 Railway Labor Act                862 Black Lung (923)              850 Securities/Commodities/
                                      362 Personal Injury -               Product Liability        751 Family and Medical               863 DIWC/DIWW (405(g))                Exchange
                                          Medical Malpractice                                          Leave Act                        864 SSID Title XVI                890 Other Statutory Actions
      REAL PROPERTY                     CIVIL RIGHTS                 PRISONER PETITIONS            790 Other Labor Litigation           865 RSI (405(g))                  891 Agricultural Acts
  210 Land Condemnation               440 Other Civil Rights          Habeas Corpus:               791 Employee Retirement                                                893 Environmental Matters
  220 Foreclosure                     441 Voting                      463 Alien Detainee               Income Security Act              FEDERAL TAX SUITS                 895 Freedom of Information
  230 Rent Lease & Ejectment          442 Employment                  510 Motions to Vacate                                             870 Taxes (U.S. Plaintiff             Act
  240 Torts to Land                   443 Housing/                        Sentence                                                           or Defendant)                896 Arbitration
  245 Tort Product Liability              Accommodations              530 General                                                       871 IRS—Third Party               899 Administrative Procedure
  290 All Other Real Property         445 Amer. w/Disabilities -      535 Death Penalty                IMMIGRATION                           26 USC 7609                      Act/Review or Appeal of
                                          Employment                  Other:                       462 Naturalization Application                                             Agency Decision
                                      446 Amer. w/Disabilities -      540 Mandamus & Other         465 Other Immigration                                                  950 Constitutionality of
                                          Other                       550 Civil Rights                 Actions                                                                State Statutes
                                      448 Education                   555 Prison Condition
                                                                      560 Civil Detainee -
                                                                          Conditions of
                                                                          Confinement
V. ORIGIN (Place an “X” in One Box Only)
  1 Original             2 Removed from                     3      Remanded from              4 Reinstated or             5 Transferred from      6 Multidistrict                     8 Multidistrict
    Proceeding             State Court                             Appellate Court              Reopened                    Another District          Litigation -                      Litigation -
                                                                                                                            (specify)                 Transfer                          Direct File
                                       Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
VI. CAUSE OF ACTION                    Brief description of cause:

VII. REQUESTED IN                           CHECK IF THIS IS A CLASS ACTION                        DEMAND $                                    CHECK YES only if demanded in complaint:
     COMPLAINT:                             UNDER RULE 23, F.R.Cv.P.                                                                           JURY DEMAND:                    Yes           No
VIII. RELATED CASE(S)
                                           (See instructions):
      IF ANY                                                        JUDGE                                                               DOCKET NUMBER
DATE                                                                  SIGNATURE OF ATTORNEY OF RECORD


FOR OFFICE USE ONLY

  RECEIPT #                     AMOUNT                                    APPLYING IFP                                    JUDGE                           MAG. JUDGE
